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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS

DEVRY UNIVERSITY, INC.

                      Plaintiff,

       v.
                                             Case No. 1:22-cv-05549
UNITED STATES DEPARTMENT OF
                                             Honorable LaShonda A. Hunt
EDUCATION and
                                             ORAL ARGUMENT
DR. MIGUEL CARDONA, in his official
                                             REQUESTED
capacity as Secretary of the United States
Department of Education,

                      Defendants.



                       MEMORANDUM OF LAW IN SUPPORT OF
                PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION
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                                           INTRODUCTION

          Approximately two months ago, and well after DeVry filed its Complaint, the Supreme

Court held in Axon Enterprise, Inc. v. Federal Trade Commission, 143 S. Ct. 890 (2023), that a

party to an agency enforcement proceeding need not await the conclusion of that agency

proceeding to seek and obtain relief in federal district court on constitutional challenges to the

agency’s structure and enforcement authority. Id. at 903–04. In light of Axon, DeVry has

requested leave to amend its Complaint to assert structural constitutional challenges against the

United States Department of Education (the “Department”) under Articles I and II of the U.S.

Constitution. (See ECF No. 33 (motion for leave to amend and accompanying papers).) As DeVry

alleges, the Department’s borrower defense to repayment (“BDR”) and recoupment scheme that

purports to give the Department the authority to unilaterally discharge student loans and assert

recoupment claims to be adjudicated by the Department’s administrative law judges (“ALJ”)

violates these fundamental safeguards of the constitutional separation of powers.

          The Supreme Court in Axon also recognized that subjecting a party to unconstitutional

agency proceedings constitutes immediate, ongoing, and irreparable injury that cannot be remedied

later by a federal court upholding the constitutional challenge at the conclusion of the agency

proceeding. Accordingly, DeVry now seeks to enjoin the Department from continuing to inflict

irreparable harm on DeVry through the Department’s ongoing and unconstitutional administrative

action to recoup approximately $23 million in student loans that the Department unilaterally

discharged (the “Recoupment Action”).1 Each preliminary injunction factor weighs decisively in

favor of enjoining the Recoupment Action pending the final resolution of DeVry’s constitutional

claims. See Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).



1
    This assumes that the Court will grant DeVry’s leave to amend the Complaint.

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       First, DeVry is likely to succeed on the merits of its constitutional challenges. The

Department’s ALJs, inferior officers of the United States, are subject to dual layers of good cause

removal protection and are thus unconstitutionally insulated from the President’s Article II power

to remove subordinate executive officials. See Free Enter. Fund v. Pub. Co. Acct. Oversight Bd.,

561 U.S. 477, 484 (2010) (finding unconstitutional statutory scheme that imposed dual layers of

good cause removal protection for members of the Public Company Accounting Oversight Board);

Jarkesy v. SEC, 34 F.4th 446, 464–65 (5th Cir. 2022), cert. granted, SEC v. Jarkesy, No. 22-859

(U.S. June 30, 2023) (striking down removal restrictions as unconstitutional as applied to SEC

ALJs). The Department’s recoupment scheme is also an unconstitutional exercise of the legislative

power that the Constitution reserves to Congress under Article I. Congress delegated only specific

and limited authority to the Secretary in 20 U.S.C. § 1087e(h) to designate which BDR defenses a

borrower may raise in a lawsuit. Without any delegation of authority from Congress, the

Department has conferred upon itself the authority to adjudicate BDR defenses for borrowers and

impose liability on institutions through adjudication of recoupment claims.

       Second, a preliminary injunction is necessary to remedy the ongoing “here-and-now

injury” DeVry suffers from being subjected to the Department’s unconstitutional recoupment

scheme and unconstitutionally insulated ALJs through the Recoupment Action. That harm is

irreparable because judicial review after the Recoupment Action has concluded cannot remedy it.

Axon, 143 S. Ct. at 903–04 (citation omitted); Life Spine, Inc. v. Aegis Spine, Inc., 8 F.4th 531, 545

(7th Cir. 2021) (an injury “is irreparable if legal remedies are inadequate to cure it”).

       Finally, the public interest strongly favors enjoining the Recoupment Action. “The public

interest in ensuring protection of th[e] separation of powers is foundational and requires little

elaboration.” Sierra Club v. Trump, 929 F.3d 670, 707 (9th Cir. 2019). Here, the Department’s



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Recoupment Action contravenes the public interest in the constitutional separation of powers—a

fundamental safeguard that protects individual liberties. See, e.g., Morrison v. Olson, 487 U.S.

654, 693 (1988) (“[T]he system of separated powers and checks and balances established in the

Constitution was regarded by the Framers as a self-executing safeguard against the encroachment

or aggrandizement of one branch at the expense of the other.” (internal quotation marks and

citation omitted)). The Department cannot assert any harm in being forced to maintain the

Constitution’s separation of powers. See Exodus Refugee Immigr., Inc. v. Pence, 165 F. Supp. 3d

718, 739 (S.D. Ind. 2016), aff’d, 838 F.3d 902 (7th Cir. 2016). Nor can the Department contend

that any delay in recouping the amount of the student loans that the Department unilaterally

discharged (the loans remain discharged) outweighs the irreparable harm to DeVry of being

subjected to an unconstitutional administrative proceeding.

          Respectfully, the Court should grant DeVry’s Motion and enjoin the Recoupment Action.

                                           BACKGROUND

I.        THE DEPARTMENT’S UNCONSTITUTIONAL RECOUPMENT SCHEME.

          Thirty years ago, Congress authorized the federal government to lend money to eligible

students through “Direct Loans.” 20 U.S.C. § 1087a; (FAC ¶ 50).2 Congress also inserted a minor

provision into the Higher Education Act (“HEA”), giving the Department a specific and limited

direction to identify by regulation “which acts or omissions of an institution of higher education a

borrower may assert as a defense to repayment” of a Direct Loan. 20 U.S.C. § 1087e(h); (FAC ¶

52). Despite this narrow delegation of limited authority, which lay dormant for nearly twenty

years, the Department has since claimed vast authority to fashion an elaborate discharge and

recoupment scheme—without any authority from Congress.



2
    Citations herein to “FAC” refer to DeVry’s proposed First Amended Complaint, ECF No. 33-2.

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       A.      The 1995 BDR Rule.

       The Department’s BDR Rule became effective in 1995. See 59 Fed. Reg. 61,664 (Dec. 1,

1994) (codified at 34 C.F.R. § 685.206(c)(3) (1995 version)). This Rule allowed borrowers to

“assert as a defense against repayment, any act or omission of the school attended by the student

that would give rise to a cause of action against the school under applicable State law” in certain

specified formal proceedings—none of which concerned Department adjudication of BDR

defenses. Id. at 61,696. The Department’s 1995 BDR Rule also purported to authorize the

Secretary to “initiate an appropriate proceeding to require the school whose act or omission

resulted in the borrower’s successful defense against repayment of a Direct Loan to pay to the

Secretary the amount of the loan to which the defense applies.” Id. The Rule did not specify what

“an appropriate proceeding” would be.

       B.      The 2017 BDR Rule and 2017 Recoupment Rule.

       In 2016, without authorization from Congress beyond the limited direction in 34 U.S.C.

§ 1087e(h), the Department began to fashion its coercive administrative recoupment scheme,

departing dramatically from § 1087e(h)’s text and the Department’s 1995 BDR Rule. In particular,

the Department promulgated the 2017 BDR Rule. See 81 Fed. Reg. 75,926 (Nov. 1, 2016)

(codified at 34 C.F.R. § 685 et seq.); see also 34 C.F.R. § 685.22 (2017 version). In relevant part,

the 2017 BDR Rule purported to allow the Secretary to designate a Department official to resolve

borrower defenses by individual student borrowers. 34 C.F.R. § 685.222(e)(3) (2017 version).

The Rule authorized the Secretary “to initiate a proceeding to collect from the school the amount

of relief resulting from a borrower defense under this section.” Id. § 685.222(e)(7). The 2017

BDR Rule also authorized the Secretary to designate a Department official to assert borrower

defenses against an open school on behalf of a group of borrowers before a Department “hearing

official.” Id. § 685.222(h). If those borrower defenses are successful, the 2017 BDR Rule permits

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the Secretary to “collect[] from the school any liability to the Secretary for any amounts discharged

or reimbursed to borrowers,” id. § 685.206(h)(5)(i), and the Secretary “may initiate a proceeding

to collect at any time,” id. § 685.222(h)(5)(ii). The 2017 BDR Rule provided that “the granting of

any relief under this section” “[t]ransfer[s] to the Secretary . . . the borrower’s right of recovery

against third parties,” including “against the school.” Id. § 685.222(k).

        In tandem with the 2017 BDR Rule, the Department promulgated a regulation creating

“borrower defense and recovery proceedings.” 34 C.F.R. § 668.87 (the “20173 Recoupment

Rule”). This Rule purported to allow a “designated department official” to “begin[]” such

proceedings by issuing a notice to an institution, “inform[ing] the institution of the Secretary’s

intent” to assert recoupment claims. Id. § 668.87(a)(1)(i). The notice “[i]ncludes a statement of

facts and law sufficient to show that the Department is entitled to grant any borrower defense relief

asserted within the statement, and recover for the amount of losses to the Secretary caused by the

granting of such relief.” Id. § 668.87(a)(1)(ii). If the institution submits no response, then the

regulation contemplates, and the Department’s Recoupment Notice confirms (FAC Ex. B), that

the institution will be deemed liable for the amount specified in the notice. Under the Rule, a

“hearing official” conducts the hearing under 34 C.F.R. § 668.89. See id. § 668.87(a)(3). In the

Recoupment Action, the “hearing official” is a Department ALJ. (FAC ¶ 80 (g); Declaration of

David E. Mills (“Mills Decl.”) ¶ 3.) By design, the ALJ has no authority to waive regulations or

rule them invalid. See 34 C.F.R. § 668.90(d)(1), (2). The 2017 Recoupment Rule remains in effect.

        C.     The 2020 BDR Rule.

        In 2020, again without authorization from Congress, the Department promulgated another

BDR Rule. See 84 Fed. Reg. 49,788 (Sept. 23, 2019) (codified at 34 C.F.R. § 685.206 (2020


3
 In the proposed FAC, DeVry referred to this rule as the 2017 BDR Recoupment Rule. To avoid confusion,
this Motion uses the term “2017 Recoupment Rule.”

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version)). In relevant part, under the 2020 BDR Rule, “the Secretary issues a written decision” on

a BDR application, 34 C.F.R. § 685.206(e)(11)(i), and notifies the borrower and the school if the

Secretary grants relief. Id. § 685.206(e)(12)(i). The Secretary’s BDR determination is “final” and

“not subject to appeal within the Department.” Id. § 685.206(e)(13). The 2020 BDR Rule also

transfers to the Secretary “the borrower’s right of recovery against third parties,” including

“against the school.” Id. § 685.206(e)(15)(i). The 2020 BDR Rule authorizes the Secretary to

initiate a proceeding against a school “to pay to the Secretary the amount” discharged in

accordance with 34 C.F.R., subpart G. Id. § 685.206(e)(16). Thus, the 2020 BDR Rule relies on

the same “borrower defense and recovery proceedings” created by the 2017 Recoupment Rule.

II.     THE DEPARTMENT’S RECOUPMENT ACTION AGAINST DEVRY.

        DeVry has become a key target of the Department’s elaborate recoupment scheme. On

February 16, 2022, the Department announced that “approximately 1,800 former DeVry . . .

students . . . [would] receive approximately $71.7 million in full borrower defense discharges after

the [Department] determined that the institution made widespread substantial misrepresentations

about its job placement rates.” (Ex. 14,5; FAC ¶ 38.) The Department stated its intent to “seek to

recoup the cost of these discharges from DeVry.” (Id.)

        Six months later, the Department issued a recoupment notice to DeVry (“Recoupment

Notice”), seeking to recoup discharged loan amounts for 649 students, presumably a subset of the

1,800. (FAC Ex. B at 1.) The Department stated it had “completed its investigation and analysis,”

and determined that DeVry failed to comply with the HEA and the 1995 and 2017 BDR Rules.

(Id. at 2, 4.) The Department determined it was entitled to discharge 100% of applicable loans and



4
  Citations herein to “Ex.” refers to the exhibits to the Mills Decl. concurrently filed herewith.
5
  The Court may take judicial notice of this publicly available government webpage. See Cause of Action
v. Chi. Transit Auth., 815 F.3d 267, 277 n.13 (7th Cir. 2016).

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recover that amount from DeVry. (Id. at 2–6.) The Department “assessed” $23.6 million against

DeVry and provided payment instructions. (Id. at 6–7.) The “debt” would be due on the date in

the Recoupment Notice unless DeVry requested a hearing. (Id. at 6–8.)

        Faced with a Hobson’s choice between immediate liability for $23.6 million or an

adjudication at the same agency that assessed the liability, DeVry requested a hearing under the

Department’s recoupment scheme on October 11, 2022. (FAC ¶ 46.) A Department ALJ presides

over the Recoupment Action. (Id. ¶ 80(g); Mills Decl. ¶ 3.) The ALJ has twice declined to stay

the Recoupment Action pending resolution of this case.6 (Mills Decl. ¶¶ 5, 7; Exs. 3, 5.) The

Recoupment Action remains ongoing. (FAC ¶ 48; Mills Decl. ¶¶ 8, 9; Ex. 6.)

III.    DEVRY’S CHALLENGE TO THE UNCONSTITUTIONAL RECOUPMENT SCHEME.

        In response to certain unlawful actions by the Department—and its attempt to use those

actions to recoup millions of dollars from DeVry—DeVry brought this lawsuit on October 11,

2022. (ECF No. 1, Complaint for Declaratory and Injunctive Relief (the “Complaint”).) The

Complaint asserted claims under the Administrative Procedure Act (“APA”), 5 U.S.C. § 702 et

seq. The Department moved to dismiss the APA claims on December 23, 2022 (ECF No. 21

(“Motion to Dismiss”)), and DeVry responded (ECF Nos. 24, 28).

        Following the close of briefing on the Motion to Dismiss, the Supreme Court decided Axon,

holding that federal district courts have jurisdiction under 28 U.S.C. § 1331 over constitutional

claims challenging an agency’s structure and authority, and, in a substantive change to the law,

that a party to agency proceedings need not await their conclusion to assert such claims. Based on

Axon, DeVry moved for leave to amend the Complaint to assert constitutional challenges to the



6
 The Court may take judicial notice of the ALJ’s orders. Opoka v. Immigr. & Naturalization Serv., 94 F.3d
392, 394 (7th Cir. 1996) (“[T]he decision of an administrative law judge[] is a proper subject of judicial
notice.”).

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Department’s recoupment scheme. (ECF No. 33.)

         DeVry now brings this motion for a preliminary injunction to stop the irreparable harm it

suffers from the ongoing and unconstitutional Recoupment Action.

                                       LEGAL STANDARD

         A preliminary injunction is an appropriate remedy where (1) the movant is likely to succeed

on the merits, (2) the movant is likely to suffer irreparable harm absent relief, (3) the balance of

equities tips in the movant’s favor, and (4) issuance of an injunction is in the public interest.

Winter, 555 U.S. at 20. If the movant “is likely to succeed on the merits” and “would suffer

irreparable harm without the injunction,” the court must employ a balancing test. Life Spine, 8

F.4th at 539. “This balancing process involves a ‘sliding scale’ approach: the more likely the

plaintiff is to win on the merits, the less the balance of harms needs to weigh in his favor, and vice

versa.” Mays v. Dart, 974 F.3d 810, 822 (7th Cir. 2020) (citation omitted).

                                           ARGUMENT

I.       DEVRY IS LIKELY TO SUCCEED ON ITS CONSTITUTIONAL CHALLENGES.

         DeVry is likely to prevail on the merits of its constitutional claims that the Department’s

ALJ structure violates Article II of the U.S. Constitution and that its unauthorized recoupment

scheme violates Article I. See Life Spine, 8 F.4th at 539 (“To obtain a preliminary injunction, a

plaintiff must show that it is likely to succeed on the merits.”). That is more than a sufficient basis

for a preliminary injunction here. See Mays, 974 F.3d at 822 (a party need only show “some

likelihood of success on the merits”) (citation omitted); Ill. Republican Party v. Pritzker, 973 F.3d

760, 763 (7th Cir. 2020) (“[T]he [movant] need not show that it definitely will win the case.”).

         A.     DeVry Is Likely to Succeed on Its Claim that the Department’s ALJs Are
                Insulated from Presidential Removal in Violation of Article II.

         The Department’s ALJs are subject to tenure protections that violate Article II. (FAC


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¶¶ 159–61.) Article II “vest[s]” all “executive Power” in the President. U.S. Const., art. II, § 1,

cl. 1. The President alone is charged with “tak[ing] Care that the Laws be faithfully executed.”

Id., art. II., § 3. The concentration of Executive power solely in the President “ensure[s] . . .

accountability” of the Executive Branch to the people. Printz v. United States, 521 U.S. 898, 922

(1997). Indeed, “the restraints of public opinion” is one of the “greatest securities” for the “faithful

exercise” of Executive power. The Federalist No. 70 at 424, 428–29 (Alexander Hamilton).

       Because “the President alone and unaided could not execute the laws,” Myers v. United

States, 272 U.S. 52, 117 (1926), the President may delegate some executive authority to a

“principal Officer in each of the executive departments” as well as “inferior officers” in those

executive departments. See U.S. Const. art. II., § 2, cl. 1, cl. 2. The President, however, must have

the power “to remove those who assist him in carrying out his duties.” Free Enter. Fund, 561 U.S.

at 513–14. In our constitutional scheme, “the President’s removal power is the rule, not the

exception.” Seila Law LLC v. CFPB, 140 S. Ct. 2183, 2206 (2020). It is “incompatible with the

Constitution’s separation of powers” when there are two or more layers of for-cause removal

protection between the President and an inferior officer. Free Enter. Fund, 561 U.S. at 498.

       Despite exercising Executive power, the Department’s ALJs are shielded from at-will

removal by the President by two layers of tenure protection in violation of Article II.

               1.      The Department’s ALJs Are Inferior Officers of the United States.

       The Department’s ALJs satisfy each consideration that led the Supreme Court in Lucia v.

Securities & Exchange Commission to conclude that ALJs within the SEC are inferior officers of

the United States. 138 S. Ct. 2044, 2053 (2018).

       First, the Department’s ALJs “hold a continuing office established by law.” Id. at 2053;

see also Freytag v. Comm’r, 501 U.S. 868, 881 (1991). Congress requires the Secretary to

establish in the Department of Education an Office of Administrative Law Judges. 20 U.S.C.
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§ 1234(a). By statute, these ALJs “shall be appointed by the Secretary in accordance with [5

U.S.C. § 3105].” 20 U.S.C. § 1234(b). Section 3105 in turn provides that “[e]ach agency shall

appoint as many administrative law judges as are necessary for proceedings required to be

conducted in accordance with sections 556 and 557 of this title.” 5 U.S.C. § 3105. By regulation

applicable to all ALJs, a Department ALJ “receives a career appointment.” 5 C.F.R. § 930.204(a).

       Second, the Department’s ALJs “have all the authority needed to ensure fair and orderly

adversarial hearings,” including taking testimony, conducting trials, ruling on the admissibility of

evidence, and possessing the power to enforce compliance with discovery orders. Lucia, 138 S.

Ct. at 2053. As a general matter and “[s]ubject to published rules of the agency, all ALJs, including

the Department’s ALJs, may “administer oaths and affirmations,” “issue subpoenas,” “rule on

offers of proof and receive relevant evidence,” and “regulate the course of the hearing.” 5 U.S.C.

§ 556(c)(1), (2), (3) and (5). In addition, Congress has specifically authorized the Department’s

ALJs to “order a party to . . . (A) produce relevant documents; (B) answer written interrogatories

that inquire into relevant matters; and (C) have depositions taken.” 20 U.S.C. § 1234(g)(1).

Congress has vested the Department’s ALJs with authority “to issue subpoenas and apply to the

appropriate court of the United States for enforcement of a subpoena. The court may enforce the

subpoena as if it pertained to a proceeding before that court.” Id. at § 1234(g)(2).

       The Department’s ALJs who preside over recoupment proceedings (including the one

pending against DeVry) have significant power to shape the adversarial process. The ALJs are

permitted to “accept[] only evidence that is relevant and material to the proceeding and is not

unduly repetitious,” 34 C.F.R. § 668.89(b)(5); “restrict the number of witnesses or exclude

witnesses to avoid undue delay or presentation of cumulative evidence,” id. § 668.89(b)(6); and

manage expert witnesses. Id. § 668.89(b)(7). The Department’s ALJs may enforce compliance



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with discovery deadlines by “terminating the hearing and issuing a decision against a party that

does not meet those time limits” set by the ALJs. Id. § 668.90(c)(3).

        Third, the Department’s ALJs “issue decisions containing factual findings, legal

conclusions, and appropriate remedies,” with the “capacity” to be the “last-word” where the

agency declines to review the decision. Lucia, 138 S. Ct. at 2053–54. For example, by statute, in

a recovery of funds proceeding, the Department’s ALJs issue preliminary decisions with “findings

of fact” that “if supported by substantial evidence, shall be conclusive.” 20 U.S.C. § 1234a(d)(1).

A decision by the Department’s ALJs “shall become final agency action 60 days after the recipient

[of funds] receives written notice of the decision” when the Secretary takes no action. Id.

§ 1234a(g). This “capacity” for the Department’s ALJ’s decision to be the Department’s “last-

word” further confirms that they are inferior officers. Lucia, 138 S. Ct. at 2053–54.

        While the Department, in its Motion to Dismiss, argued that the Secretary—rather than the

ALJ—must issue a final decision on recoupment,7 that contention, even if it were accurate (it is

not), does not undermine the status of the Department’s ALJs as inferior officers of the United

States. As the Supreme Court concluded in Freytag, the mere fact that special trial judges in the

Tax Court could not enter final decisions in one particular type of proceeding did not undermine

their status as inferior officers of the United States given the nature of their office and their duties,

especially when they could issue final decisions in other types of proceedings. 501 U.S. at 881

(“If a special trial judge is an inferior officer for purposes of subsections (b)(1), (2), and (3), he is

an inferior officer within the meaning of the Appointments Clause . . . .”). The Department’s ALJs

hold a continuing office and duties that clearly make them inferior officers of the United States.

And, as discussed above, the Department’s ALJs do have the capacity to render a final decision in


7
  See ECF No. 21-1 at 5 (stating “[a]s the Department’s regulations make clear, ‘[t]he Secretary renders a
final decision.’”) (quoting 34 C.F.R. § 668.91(c)(2)(vii)).

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other proceedings assigned to them by Congress. See 20 U.S.C. § 1234a(d)(1).

                2.      The Department’s ALJs Are Unconstitutionally Insulated from
                        Presidential Removal in Violation of Article II.

        The Department’s ALJs are also subject to dual layers of removal protection that violate

Article II of the United States Constitution. At the first layer, the Department’s ALJs may be

removed only for good cause, as determined by the Merit System Protection Board (“MSPB”). 5

U.S.C. § 7521(a). At the second layer, members of the MSPB can be removed by the President

only for good cause.8 5 U.S.C. § 1202(d). As the Office of Legal Counsel has stated, this very

structure demonstrates that the Department’s “ALJs are . . . doubly insulated from meaningful

executive control.” Sec’y of Educ. Rev. of Admin. L. Judge Decisions, 15 Op. O.L.C. 8, 6, 1991

WL 499882, at *6 (1991).9

        Recent Supreme Court precedent makes clear that two layers (or more) of for-cause

removal protection between the President and an inferior officer violates Article II. Free Enter.

Fund, 561 U.S. at 498. While the Supreme Court did not resolve the constitutionality of dual

layers of tenure protection applicable to ALJs, id. at 507 n.10, the Fifth Circuit addressed that issue

in Jarkesy. The Fifth Circuit concluded that SEC ALJs are subject to “at least two layers” of for-

cause removal protection in violation of Article II. Jarkesy, 34 F.4th at 465. The court expressly

noted that SEC ALJs can be removed only for good cause by MSPB members, who are in turn

removable only for good cause. Id. at 464–65. Here, the Department’s ALJs are subject to the




8
  MSPB members are principal officers of the United States. See McIntosh v. Dep’t of Def., 53 F.4th 630,
639 (Fed. Cir. 2022) (“The MSPB itself is made up of three members who are appointed by the President
with the advice and consent of the Senate, making them principal officers.”).
9
  “Although not binding on courts, OLC opinions ‘reflect[] the legal position of the executive branch’ and
‘are generally viewed as providing binding interpretive guidance for executive agencies,’” Casa De Md. v.
United States Dep’t of Homeland Sec., 924 F.3d 684, 692 n.1 (4th Cir. 2019), and persuasive for this Court.
See Ecological Rights Found. v. Pac. Gas & Elec. Co., 874 F.3d 1083, 1097 n.5 (9th Cir. 2017) (treating
OLC opinion as “persuasive authority”).

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dual layers of removal protection held unconstitutional in Jarkesy.

       Although the Secretary of Education is removable at will by the President, that feature does

not cure the unconstitutional dual layers of for-cause protection placed on the President’s removal

power. “Once an officer is appointed, it is only the authority that can remove him, and not the

authority that appointed him, that he must fear and, in the performance of his functions, obey.”

Bowsher v. Synar, 478 U.S. 714, 726 (1986). Under the applicable tenure protection scheme, the

Department’s ALJs do not answer to the President or to the Secretary, but rather to the MSPB.

Unless the MSPB finds good cause, the Department ALJ will remain in office even if the President

and the Department object. And even if the President removes the Secretary, the MSPB must still

find good cause before a Department ALJ can be removed. This scheme violates the constitutional

rule that the President must have the power to remove inferior officers. See Seila Law, 140 S. Ct.

at 2206.    Thus, DeVry is likely to succeed on its claim that the Department’s ALJs are

unconstitutionally insulated from removal by the President in violation of Article II.

       B.      DeVry Is Likely to Succeed on Its Claim that the Department’s Recoupment
               Scheme Violates Article I Because Congress Did Not Authorize Its Creation.

       DeVry is also likely to succeed on its claim that the Department’s recoupment scheme

violates Article I. (FAC ¶¶ 163–67.) The Department has egregiously flouted Article I’s

reservation of legislative power to Congress by fashioning a recoupment scheme that vastly

exceeds any authority Congress delegated to the Department. With no such delegated authority,

the Department’s scheme allowing it to assert and adjudicate BDR defenses or recoupment claims

against institutions of higher education is an unconstitutional exercise of legislative power.

       The U.S. Constitution mandates that all “legislative Powers” are “vest[ed]” in Congress

alone. U.S. Const., art. I, § 1. Congress may “obtain[] the assistance of its coordinate Branches,”

Mistretta v. United States, 488 U. S. 361, 372 (1989), and “may . . . delegate to others, powers


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which the legislature may rightfully exercise itself.” United States v. Grimaud, 220 U.S. 506, 517

(1911) (citation omitted). “It is axiomatic that an administrative agency’s power to promulgate

legislative regulations is limited to the authority delegated by Congress,” Bowen v. Georgetown

Univ. Hosp., 488 U.S. 204, 208 (1988) (emphasis added). Indeed, “[a]gencies have only those

powers given to them by Congress.” W. Va. v. EPA, 142 S. Ct. 2587, 2609 (2022) (emphasis

added). The major questions doctrine underscores that, when determining “whether Congress in

fact meant to confer the power [that] the agency has asserted,” id. at 2608, the “history and the

breadth of the authority . . . asserted” is a key part of the inquiry. Id. (citation omitted). See also

Biden v. Nebraska, --- S. Ct. ---, 2023 WL 4277210, at *12–13 (U.S. June 30, 2023). Delegations

of extraordinary power must not be readily gleaned from “ancillary” or “rarely been used” statutory

provisions. W. Va., 142 S. Ct. at 2610–11.

       Here, the Department’s assertion of authority to adjudicate BDR defenses and recoupment

claims—first detailed in the 2017 BDR Rule and 2017 Recoupment Rule—is at odds with

§ 1087e(h)’s narrow scope and history. The only authority Congress delegated to the Department

over BDR defenses is set forth in 20 U.S.C. § 1087e(h), which instructs that:

       [T]he Secretary shall specify in regulations which acts or omissions of an institution
       of higher education a borrower may assert as a defense to repayment of a loan . . .
       except that in no event may a borrower recover from the Secretary, in any action
       arising from or relating to a loan made under [the Direct Loan Program], an amount
       in excess of the amount such borrower has repaid on such loan.

20 U.S.C. § 1087e(h). Section 1087e(h) is a minor statutory provision that is precise and limited

in scope. The statutory reference to “action” makes clear that, under this provision, the Secretary

merely specifies which acts or omissions of an institution of higher education a borrower may

assert as a defense to repayment of a federal student loan in a lawsuit. See Action, Black’s Law

Dictionary (6th ed. 1990) (“Term in its usual legal sense means a lawsuit brought in a court; a

formal complaint within the jurisdiction of a court of law.”). It is also plain from the statutory
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language that the “action” includes a borrower’s suit to avoid repayment, not an action by the

Secretary against an institution.

       Reinforcing the limited scope of § 1087e(h), for nearly two decades the BDR process was

rarely used, as the Department has conceded. 87 Fed. Reg. at 65,979 (“[T]he [borrower defense]

process . . . was rarely used prior to 2015.”). In that period, the Department did not assert the

authority to adjudicate BDR defenses, nor did the Department create proceedings to adjudicate

recoupment claims against institutions. This history weighs strongly against the notion that

§ 1087e(h) can carry the weight of the Department’s sweeping recoupment scheme.

       Yet, beginning with the 2017 BDR Rule, the Department has asserted the authority to

adjudicate individual and group borrower defenses by student borrowers, with Department

officials unilaterally rendering decisions on BDR defenses and the amount of a discharge. See 34

C.F.R. § 685.222(e) (2016 version). This assertion of authority has vast economic consequences.

For DeVry alone, the Department has stated publicly that it has adjudicated (unilaterally) BDR

defenses for roughly 1,800 DeVry students.           The Department estimates relief will be

“approximately $71.7 million.” (Ex. 1.) More broadly, the Department has touted its adjudication

of BDR defenses for over 107,000 borrowers, granting discharge of a staggering “approximately

$2 billion.” (Id. (emphasis added).) All without congressional authority.

       The 2017 BDR Rule also authorized the Secretary to initiate a proceeding to impose

liability on an institution and collect the amount discharged by the Department pursuant to a BDR

defense approved by Department officials. 34 C.F. R. § 685.222(e)(7). To effectuate this self-

conferred authority, the Department issued the 2017 Recoupment Rule, establishing “borrower

defense and recovery proceedings” that allow the Department to assert a recoupment claim against

an institution subject to adjudication by a Department ALJ. Id. § 668.87. DeVry is the only school



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against which the Department has initiated these proceedings.                     In creating this Rule, the

Department inexplicably cited 20 U.S.C. § 1087a et seq.—a statute that merely creates the Direct

Loan program—as somehow authorizing its new adjudications, without attempting to explain how

§ 1087a authorized them. See 82 Fed. Reg. 6,253, 6,257 (Jan. 19, 2017).

         The Department’s assertion of authority to adjudicate BDR defenses and recoupment

claims cannot be squared with § 1087e(h)—the only statutory provision that refers to BDR

defenses. The authority to define defenses does not confer authority on the Department to

adjudicate those defenses, let alone to assert or adjudicate recoupment claims against an institution,

because Congress expressly authorizes an agency to adjudicate when Congress intends the agency

to do so. See Bank One Chi., N.A. v. Midwest Bank & Trust Co., 516 U.S. 264, 274 (1996) (noting

that “nothing in § 4010(f)’s text suggests that Congress meant the Federal Reserve Board to

function as both regulator and adjudicator in interbank controversies. Rather, subsections (f) and

(d) fit a familiar pattern: agency regulates, court adjudicates”). Nothing in § 1087e(h) refers to

adjudication by the Department of BDR defenses or to the assertion and adjudication by the

Department of recoupment claims against an institution of higher education.

         The omission of such authority from § 1087e(h) is significant because, elsewhere,

Congress expressly authorized the Department to discharge student loans or recoup from an

institution. See United States v. Dvorkin, 799 F.3d 867, 876 (7th Cir. 2015). For example, in

certain circumstances not applicable here,10 Congress authorized the Department to “discharge the

borrower’s liability on the loan (including interest and collection fees)” and provided that the



10
   This authority applies only when the student “is unable to complete the program in which such student is
enrolled due to the closure of the institution or if such student’s eligibility to borrow under this part was
falsely certified by the eligible institution or was falsely certified as a result of a crime of identity theft, or
if the institution failed to make a refund of loan proceeds which the institution owed to such student’s
lender.” 20 U.S.C. § 1087(c).

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Department “shall subsequently pursue any claim available to such borrower against the

institution.” 20 U.S.C. § 1087(c). Nothing in § 1087e(h) remotely resembles that scheme. In

another example, Congress expressly delegated to the Department authority to recover funds from

a recipient in a statute that expressly provides for adjudication by a Department ALJ. See 20

U.S.C. § 1234a.11 The Department has apparently attempted to wedge the Recoupment Action

into that scheme by labelling it as a “recovery proceeding.” See 34 C.F.R. § 668.87. But § 1234a

does not authorize recovery of funds for BDR discharges. See 20 U.S.C. § 1234a.

         The Department’s promulgation of regulations that Congress never authorized constitutes

an impermissible exercise of legislative authority in violation of Article I. See Fed. Election

Comm’n v. Swallow, 304 F. Supp. 3d 1113, 1118 (D. Utah 2018) (“Article I Section 1 of the

Constitution vests all legislative power in ‘a Congress of the United States,’ which alone is

authorized to make laws; all others . . . are not. The FEC’s authority exists no further than the

boundaries of the law it was created to enforce. When it promulgated 11 C.F.R. §110.4(b)(1)(iii),

. . . it went too far, exceeding its authority to write regulations and improperly intruding into the

realm of lawmaking that is the exclusive province of Congress.”). Consequently, DeVry is likely

to succeed on the merits of its Article I claim.

II.      DEVRY IS IRREPARABLY HARMED ABSENT A PRELIMINARY INJUNCTION.

         DeVry will suffer irreparable harm absent a preliminary injunction. See Life Spine, 8 F.4th

at 545 (an injury “is irreparable if legal remedies are inadequate to cure it”); Dumanian v. Schwartz,

2022 WL 2714994, at *14 (N.D. Ill. July 13, 2022) (“[T]o show that [it] would suffer irreparable


11
   This statute authorizes the Secretary to render a “preliminary department[] decision” “[w]henever the
Secretary determines that a recipient of a grant or cooperative agreement under an applicable program must
return funds because the recipient has made an expenditure of funds that is not allowable under that grant
or cooperative agreement, or has otherwise failed to discharge its obligation to account properly for funds
under the grant or cooperative agreement.” 20 U.S.C. § 1234a. This determination is subject to review by
a Department ALJ. Id.

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harm without injunctive relief, [a party] must ‘demonstrate that irreparable injury is likely.’”

(emphasis omitted) (quoting Winter, 555 U.S. at 21)).

         The injury to DeVry from being subjected to the Department’s unconstitutional

Recoupment Action is unequivocally irreparable.               As the Supreme Court has explained,

“subjection to an illegitimate [administrative] proceeding, led by an illegitimate decisionmaker,”

is a “here-and-now injury” that is “impossible to remedy once the proceeding is over.” Axon, 143

S. Ct. at 903–04 (emphasis added); id. at 904 (“A proceeding that has already happened cannot be

undone.”); see also Seila Law, 140 S. Ct. at 2196 (unconstitutional removal restriction inflicted

here-and-now injury).

         Plainly, until the Recoupment Action is enjoined, DeVry suffers ongoing, irreparable harm

that later judicial review cannot remedy, given the structural constitutional claims DeVry asserts.

Scottsdale Cap. Advisors Corp. v. Fin. Indus. Regul. Auth., Inc., 2023 WL 3864557, at *13 (D.D.C.

June 7, 2023) (“[U]nder the Supreme Court’s explicit language [in Axon], the nature of the

constitutional claims asserted here, no matter their unlikelihood of success, suffice to show

irreparable harm.”)12; see also Sidak v. USITC, 2023 WL 3275635, at *5–6 (D.D.C. May 5, 2023)

(concluding that the plaintiff suffered “ongoing” injury when he alleged that the sanctions

proceeding against him was based on a constitutionally infirm protective order issued by an ALJ

appointed in violation of the Appointments Clause).




12
   The Scottsdale court denied a preliminary injunction because the plaintiff failed to show likelihood of
success on its claims because the agency was likely not a state actor (as required to assert constitutional
claims) and the plaintiff was unlikely to succeed on its non-delegation and First Amendment claims. 2023
WL 3864557, at *7–12. That conclusion is inapposite here because DeVry has demonstrated a likelihood
of success on the merits. The Scottsdale court also found that public interest weighed against the injunction
when the plaintiff sought to enjoin a proceeding concerning the plaintiff’s alleged 35,000 violations of a
permanent agency cease-and-desist order. Id. at *12–13. That vastly different factual scenario has no
relevance here.

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III.   THE EQUITIES AND PUBLIC INTEREST STRONGLY FAVOR A PRELIMINARY INJUNCTION
       AGAINST THE DEPARTMENT’S UNCONSTITUTIONAL CONDUCT.

       The equities and the public interest factors can be assessed together here. See Nken v.

Holder, 556 U.S. 418, 435 (2009) (the balance of hardships and public interest factors “merge”

when the government is the non-movant). Balanced against the irreparable harm to DeVry, see

supra Part II, the equities and public interest favor enjoining the Recoupment Action. See Cassell

v. Snyders, 990 F.3d 539, 545 (7th Cir. 2021) (the harm to the movant “must . . . be balanced

against any harm to the ‘non-moving party’ and ‘the public interest”) (citation omitted).

       The public interest strongly favors enjoining the Recoupment Action. “The public interest

in ensuring protection of th[e] separation of powers is foundational and requires little elaboration.”

Sierra Club, 929 F.3d at 707; see also Preston v. Thompson, 589 F.2d 300, 303 n.3 (7th Cir. 1978)

(“The existence of a continuing constitutional violation constitutes proof of an irreparable harm,

and its remedy certainly would serve the public interest.”). Allowing the Recoupment Action to

proceed pending the outcome of the constitutional claims here would be contrary to the public’s

interest in maintaining the fundamental structural safeguards of the Constitution’s separation of

powers. See Gordon v. Holder, 721 F.3d 638, 652–53 (D.C. Cir. 2013) (“[T]he Constitution is the

ultimate expression of the public interest.”) (citation omitted); see also Bond v. United States, 564

U.S. 211, 222–23 (2011) (“The structural principles secured by the separation of powers protect

the individual as well. . . . If the constitutional structure of our Government that protects individual

liberty is compromised, individuals who suffer . . . justiciable injury may object.”); Morrison, 487

U.S. at 693 (“the system of separated powers and checks and balances established in the

Constitution was regarded by the Framers as a self-executing safeguard against the encroachment

or aggrandizement of one branch at the expense of the other”) (internal quotation marks and

citation omitted).


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         The Department cannot contend that it is harmed by an order enjoining the Recoupment

Action because the Department, “as a governmental entity, cannot claim that being required to

comply with the Constitution is harmful.” Exodus Refugee, 165 F. Supp. 3d at 739. Moreover,

any purported harm to the Department from a delay in recouping the $ 23.6 million in discharged

student loans in the Recoupment Action is illusory. The Department did not discharge these loans

until February 2022, years after the conduct that purportedly gave rise to BDR defenses. (See FAC

Ex. B at 2–5 (discussing purported conduct between 2008 and 2015); Ex. 1.) And when it chose

to discharge these loans, the Department did so pursuant to regulations that Congress never

authorized.13 See State v. Biden, 10 F.4th 538, 558 (5th Cir. 2021) (“[T]he Government cannot

claim an irreparable injury from being enjoined against an action that it has no statutory

authorization to take.”).

         In contrast, the harm to DeVry from being subjected to the unconstitutional Recoupment

Action is substantial, irreparable, and ongoing, see supra Part II, and it outweighs any purported

harm to the Department caused by its unilateral discharges. See Pappan Enters. v. Hardee’s Food

Sys., 143 F.3d 800, 806 (3d Cir. 1998) (“[A] party’s self-inflicted harm” was “outweighed by the

immeasurable damages” to the movant.); Merrill Lynch, Pierce, Fenner & Smith, Inc. v.

Napolitano, 85 F. Supp. 2d 491, 496 (E.D. Pa. 2000) (same).

                                          CONCLUSION

         For the foregoing reasons, DeVry respectfully requests that this Court issue a preliminary

injunction enjoining the Recoupment Action.




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  DeVry is not liable to the Department pending resolution of the claims in the Recoupment Action. See
34 C.F.R. § 668.87(b); id. § 668.91(c)(2)(vi).

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Dated: June 30, 2023                        Respectfully submitted,

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